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Counsel:

As you know, our response to the Motion to Dismiss is due on January 12,2020. We are requesting an extension to respond to the
motion until January 19, 2021. Please let me know if you will agree to that extension and we will prepare a consent motion.

Sincerely,

Stefanie Lambert Junttila

 
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Whitmer v. King

 

 

 

Meingast, Heather (AG) <MeingastH@michigan.gov> Mon, Jan 11, 2021 at 2:26 PM
To: Stefanie Lambert <attorneystefanielambert@gmail.com>
Ce: "Grill, Erik (AG)" <GrillE@michigan.gov>

Hello Ms. Lambert,

Ordinarily we would agree to such requests as a matter of course. Unfortunately, these are not ordinary times, and we
do not agree to the extension. It is our position that this case should be resolved as quickly as possible.

Thank you,

Heather

Heather S. Meingast, Division Chief

Civil Litigation, Employment & Elections Division
Michigan Department of Attorney General
meingasth@michigan.gov

(517) 335-7659 (office)

From: Stefanie Lambert <attorneystefanielambert@gmail.com>

Sent: Monday, January 11, 2021 12:18 PM

To: Grill, Erik (AG) <GrillE@michigan.gov>; Meingast, Heather (AG) <MeingastH@michigan.gov>
Subject: Whitmer v. King

 

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Whitmer v. King

 

 

Stefanie Lambert <attorneystefanielambert@gmail.com> Mon, Jan 11, 2021 at 12:21 PM
To: Darryl Bressack <dbressack@finkbressack.com>, dfink@finkbressack.com, nfink@finkbressack.com

Counsel:

As you know, our response to the Motion to Dismiss is due on January 12,2020. We are requesting an extension to respond to the
motion until January 19, 2021. Please let me know if you will agree to that extension and we will prepare a consent motion.

Sincerely,

Stefanie Lambert Junttila
Case 2:20-cv-13134-LVP-RSW ECF No. 80, PagelD.3848 Filed 01/11/21 Page 4of5
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Whitmer v. King

 

 

 

 

David Fink <dfink@finkbressack.com> Mon, Jan 11, 2021 at 3:07 PM
To: Stefanie Lambert <attorneystefanielambert@gmail.com>
Cc: Darryl Bressack <dbressack@finkbressack.com>, Nate Fink <nfink@finkbressack.com>

Ms. Junttila,
The City of Detroit will not stipulate to any extension of time for your response.

The damage caused by your lawsuit is magnified every day that these seditious lies remain in the court record.

David Fink
David H. Fink
T: 248-971-2500
i s| FINK E: dfink@finkbressack.com | W: http:/Avww.finkbressack.com
A: 38500 Woodward Ave., Suite 350, Bloomfield Hills, MI 48304
A: 535 Griswold St., Suite 1000, Detroit, MI 48226

 

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M Gmail sean

RE: Whitmer v. King [MCPS-ACTIVE.FID2617013]

Eldridge, Scott R. <Eldridge@millercanfield.com> Mon, Jan 11, 2021 at 2:55 PM
To: Stefanie Lambert <attorneystefanielambert@gmail.com>, "megurewitz@gmail.com" <megurewitz@gmail.com>

Dear Stefanie:
We have inquired with our clients about your request. They do not consent to an extension.
Thank you for your attention to this matter.

Scott

 

Scott R. Eldridge | Senior Principal Attorney / Managing Director
Miller Canfield

One Michigan Avenue, Suite 900

Lansing, Michigan 48933 (USA)

T +1.517.483.4918 IF +1.517.374.6304 | Mobile +1 517.927.9223

eldridge@millercanfield.com | View Profile + VCard

 

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firm of Miller, Canfield, Paddock
The information is intended to be

From: Stefanie Lambert <attorneystefanielambert@gmail.com>
Sent: Monday, January 11, 2021 12:20 PM
